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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO 1:18-cv-21367- DPG
  PHILIP DUNLEAVEY,
  individually and on behalf of all others
  similarly situated,                           CLASS ACTION

  Plaintiff,                                         JURY TRIAL DEMANDED

  v.

  LUX VENDING, LLC.,

  Defendant,

  _____________________/


                               NOTICE OF FILING EXHIBIT A

         Plaintiff, PHILIP DUNLEAVEY, hereby files this Notice of Filing Exhibit A referenced

 in the Complaint, but inadvertently not attached.
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        Date: April 6, 2018

        Respectfully Submitted,


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                                      CERTIFICATE OF SERVICE
         I hereby certify that on April 6, 2018, I electronically filed the foregoing document with
 the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
 this day on all counsel identified below via transmission of Notices of Electronic Filing generated
 by CM/ECF or in some other authorized manner.

 Respectfully submitted,
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                                       By:     /S/Andrew J. Shamis____
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                                               Florida Bar # 101754

                                              Attorneys for Plaintiff PHILIP DUNLEAVEY and all
                                              others similarly situated.
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                                    Exhibit “A”
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